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                         Exhibit 2
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   [t]he date the app was first discoverable on the App Store” (4.11.2023 Apple Production

   Letter at page 2).

7. Apple’s production letter states that the “Historical App Descriptions” tab “features

   current and historical iOS App Store descriptions since January 1, 2011 for 25 separate

   apps, also listed by name and App ID.” Apple’s production letter further states that

   “[t]hese descriptions are not maintained on an annualized basis; rather, Apple has

   provided records of app descriptions included with each version of the app released

   during the requested time period (which may or may not be updated on an annual basis)”

   (4.11.2023 Apple Production Letter at page 2).

8. The “Historical App Descriptions” tab contains 8,301 rows of information and six

   columns under the following headings:

               i. name

              ii. appId

              iii. version

              iv. platform

               v. description

              vi. createdAt

9. There are 24 unique values under the name heading. These values appear to represent the

   names of apps on the Apple iOS App Store.

10. Each app name is associated with an appId number, which remains constant across

   changes in version number, app store description, and createdAt date. The information

   contained in the “Historical App Descriptions” tab appears to be grouped alphabetically




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         by app name and then listed chronologically based on an app’s version number and its

         corresponding createdAt date.

      11. The platform heading includes three unique values: iOS, tvOS, and macOS. All tvOS and

         macOS descriptions were excluded from Exhibit PX8013A.

      12. The createdAt column includes date and time stamp values, which appear to indicate

         when a new version of an iOS app was created on the Apple iOS App Store. This column

         includes date values ranging from July 3, 2008 to March 23, 2023.

      13. To create Exhibit PX8013A, I took the following steps:

             a. I created 24 different tables, one for each app name listed in the “Historical App

                 Descriptions” tab. In parentheses next to the app name is the appId associated

                 with the iOS descriptions for each app.

             b. Each table consists of two columns: “Date” and “Description.” For each date, I

                 listed the associated description from the “Historical App Descriptions” tab based

                 on the createdAt date value.

             c. The first date listed corresponds to the first available iOS description for each

                 listed app. I then listed the app store description that was displayed on January 1

                 of each year available until January 1, 2023. To do so, I looked at the createdAt

                 column to find the description on January 1 or the most immediate prior entry. I

                 copied and pasted the corresponding descriptions into the tables for each app.

             d. Finally, I added a Table of Contents on the first page of Exhibit PX8013A.

14.      Ex. PX8013A accurately reflects the annualized historical descriptions of 24 iOS App Store

         apps as represented by the spreadsheet produced by Apple.




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